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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,      *
                                *    CRIMINAL NO. LO-19-0449
      v.                        *
                                *
 KENNETH WENDELL RAVENELL,      *
 JOSHUA REINHARDT TREEM, and    *
 SEAN FRANCIS GORDON,           *
                                *
      Defendants.               *
                             *******

                                     MOTION TO SEAL

       The United States of America, by and through its undersigned attorneys, hereby submits

this motion to seal its Motion for Leave to File a Surreply and Surreply to Defendant Ravenell

and Gordon’s Reply in Support of Motion to File Unredacted Filings and Reply of Defendant

Joshua R. Treem to Government Response to Defendants Ravenell’s and Gordon’s Motion to

File Unredacted Filing and Exhibits Under Seal. The reasons for sealing are discussed in the

Motion for Leave and the Surreply itself and are incorporated by reference herein.

                                            Respectfully submitted,

                                              Jonathan F. Lenzner
                                              Acting United States Attorney

                                            By: ____________/s/____________
                                               Leo J. Wise
                                               Matthew J. Maddox
                                               Assistant United States Attorneys

                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was served on counsel of record via CM/ECF.


                                                    ____________/s/____________
                                                    Leo J. Wise
                                                    Assistant United States Attorney
